Case 2:04-cr-20304-.]P|\/| Document 75 Filed 05/20/05 Page 1 of 5 PagelD 110

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UN|TED STATES OF AMER|CA

 

-v- 2:04CR20304-01-M|

STEFON HENDERSON
Howard Wagerman, Retained
Defense Attorney
200 Jefferson Avenue, #1313
Memphis, TN 38103

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on February 18, 2005.
Accordingiy, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Title s. section N_at.lMe_nY Offense Numberisi
Conciuded
21 U.S.C. § 846 Conspiracy to Possess with intent to 04/24/2004 1

Distribute Cocaine

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Niandatory
Victims Restitution Act of 1996.

Counts 2, 3 and 5 dismissed on the motion of the United States.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of Imposition of Sentence:
Defendant’s Date of Birth: 10/10/1976 i\/iay 20, 2005
Deft’s U.S. lVlarshal No.: 19829-076

Defendant’s lViailing Address:
2521 Ramrnasses
Memphis, TN 38127

 

 

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May o?© , 2005

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Case No: 2:04CR20304-01»N|i Defendant Name: Stefon HENDERSON Page 2 of 4
|MPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 72 |Vlonths (or 6 Years).

The defendant is remanded to the custody of the United States l\/larshai.

RETU RN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED S`|'ATES |V|ARSHAL
By:

 

Deputy U.S. iVlarshai

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Case No; 2:04CR20304-01-Ml Defendant Name: Stefon HENDERSON Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 4 ¥ears.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearml ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial districtwithout the permission ofthe court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d. used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a

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Case No: 2:04CR20304-01-M| Defendant Name: Stefon HENDERSON Page 4 of 4
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer. the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal lvionetary Penalties sheet of this judgment

ADD|TIONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall submit to drug and alcohol testing and treatment programs as directed
by the Probation Office.

2. The defendant shall cooperate with DNA collection as directed by the Probation Office.

CRIM|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00

The Special Assessment shall be due immediately

FINE
No fine imposed.

RESTlTUTlON
No Restitution was ordered.

   

UNITED sTEATSDTISRIC COURT - WESERT DISTRCIT TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 75 in
case 2:04-CR-20304 Was distributed by faX, mail, or direct printing on
May 23, 2005 to the parties listed.

 

 

Leonard E. Lucas

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

HoWard L. Wagerman
WAGERMAN LAW FIRM
200 .1 efferson Ave.

Ste. 13 13

1\/lemphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

